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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )   No.    1:21-cr-28-1 (APM)
       v.                                        )
                                                 )
                                                 )
THOMAS CALDWELL                                  )


     GOVERNMENT’S OPPOSITION TO DEFENDANT THOMAS CALDWELL’S
            REQUEST TO MODIFY CONDITIONS OF RELEASE

       The United States respectfully opposes Defendant Thomas Caldwell’s request to modify

conditions of release. Defendant Caldwell is charged with conspiring with over a dozen other

charged defendants and other uncharged individuals to obstruct the United States Congress’s

certification of a presidential election. A major part of his role in the conspiracy was organizing

individuals who were on standby with guns in a hotel across the river, conduct that this Court has

described as among the most concerning aspects of the conspiracy and for which the evidence has

only strengthened since Defendant Caldwell’s release. Under these circumstances, confinement to

his property, with permission to leave for religious services and medical appointments, is a

completely reasonable and essential level of restrictiveness to ensure the safety of the community.

       1.      The Court is well familiar with the facts of this case and the arguments previously

submitted by the government in contending that Defendant Caldwell should be detained pending

trial, see ECF Nos. 18, 66, and the government incorporates those arguments to support its

opposition here.

       2.      The ongoing investigation has shown further evidence that Defendant Caldwell

played a central and alarming role in the conspiracy with which he is charged. The Third

Superseding Indictment alleges that Defendant Caldwell conspired with Person Three, who, in
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Defendant Caldwell’s words, was “committed to being the quick reaction force anf bringing the

tools if something goes to hell. That way the boys don’t have to try to schlep weps on the bus.”

(ECF No. 127 at ¶ 45.) The investigation has shown that Person Three did, in fact, come to

Washington, D.C., from January 5-7, 2021. He stayed at the Comfort Inn Ballston, where

Defendant Caldwell suggested he and others should stay. An individual with whom Person Three

traveled from North Carolina and who also stayed at the Comfort Inn Ballston later confirmed to

a Facebook associate that Person Three was in charge of the quick reaction force (“QRF”). A bus

of other individuals from North Carolina, some of whom were affiliated with Person Three, did

come up to Washington, D.C., on January 6, 2021. Some of the people on that bus were dropped

off near the Lincoln Memorial, some near the Washington Monument, and some near the Capitol.

       3.     The locations visited by these North Carolina bus riders are interesting in light of

an exchange in the “DC OP: Jan 6 21” Signal chat on January 2:

       Kelly Meggs posted a map with the message: “1 if by land[,] North side of Lincoln
       Memorial[,] 2 if by sea[,] Corner of west basin and Ohio is a water transport landing
       !!” Meggs continued, “QRF rally points[.] Water of the bridges get closed.”

       In response, Person Three wrote, “My sources DC working on procuring Boat
       transportation as we speak.”

That same day, Caldwell sent two messages to his contacts seeking a boat to support the QRF.

Caldwell messaged one individual, believed to be a member of a separate militia organization:

       Can’t believe I just thought of this: how many people either in the militia or not
       (who are still supportive of our efforts to save the Republic) have a boat on a trailer
       that could handle a Potomac crossing? If we had someone standing by at a dock
       ramp (one near the Pentagon for sure) we could have our Quick Response Team
       with the heavy weapons standing by, quickly load them and ferry them across the
       river to our waiting arms. I’m not talking about a bass boat. Anyone who would
       be interested in supporting the team this way? I will buy the fuel. More or less be
       hanging around sipping coffee and maybe scooting on the river a bit and pretending
       to fish, then if it all went to shit, our guy loads our weps AND Blue Ridge Militia
       weps and ferries them across. Dude! If we had 2 boats, we could ferry across and
       never drive into D.C. at all!!!! Then get picked up. Is there a way to PLEASE pass


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       the word among folks you know and see if someone would jump in the middle of
       this to help. I am spreading the word, too. Genius if someone is willing and hasn't
       put their boat away for the winter.

       4.      There is evidence that the QRF teams that supported the conspiracy charged in this

case were armed with guns. On January 4, Person One posted to the Oath Keepers website, “As

we have done on all recent DC Ops, we will also have well armed and equipped QRF teams on

standby, outside DC, in the event of a worst case scenario, where the President calls us up as part

of the militia to to assist him inside DC.” On the morning of January 6, 2021, Person One reiterated

in the “DC OP: Jan 6 21” Signal chat: “We will have several well equipped QRFs outside DC.

And there are many, many others, from other groups, who will be watching and waiting on the

outside in case of worst case scenarios.”

       5.      As noted in previous filings in this case, the Florida-based members of this

conspiracy appear to have stored their guns at the Comfort Inn Ballston. On the morning of January

5, 2021, in a Signal Chat for Florida-based members of this conspiracy, Harrelson asked the group

for the location of the “QRF hotel,” and co-defendant Kelly Meggs responded by asking for a

direct message. Defendant Harrelson’s cell site location information (“CLSI”) shows that about

three hours after sending this message, Harrelson arrived in the area of the Comfort Inn Ballston,

where he remained for about an hour before driving into Washington, D.C. Harrelson’s CSLI

shows that after he left the area of the Comfort Inn Ballston at around 12:30 p.m. on January 5, he

spent the remainder of January 5, all day on January 6, and the early morning of January 7 in

downtown Washington, D.C. On the morning of January 7, Harrelson asked the Florida Signal

chat members if anyone knew the location of his “shit,” and another member of the chat asked if

he had left it at the Comfort Inn:




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Harrelson’s CSLI shows that he was in the area of the Comfort Inn about twenty minutes later,

from 9:08 am through 9:48 am, before starting his drive southward. Surveillance video from the

Comfort Inn shows what appears to be Defendant Harrelson rolling what appears to be at least one

rifle case down a hallway and towards the elevator:




Other members of the Florida Signal chat also discussed going back to the “QRF” at the hotel in

Arlington to retrieve items on the morning of January 7, 2021.

       6.     Additionally, there is evidence to suggest that Defendant Caldwell may have

contributed a weapon or other equipment to the QRF’s cache. On January 5, 2021, Defendant




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Caldwell visited Person Three’s room at the Comfort Inn carrying a large and long object wrapped

under a bed sheet:




On the evening of January 6, 2021, after Caldwell and Person Two returned to the Comfort Inn

from the Capitol, Person Three visited Defendant Caldwell carrying a large and long object

wrapped under a bed sheet:




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       7.      Defendant Caldwell has sought to distance himself from his co-conspirators, but

his own words suggest he was very much a part of this conspiracy. As he told an associate via

Signal on January 8, 2021, “I have been on the Oathkeepers intel net for months now.” (ECF No.

66-1 at 1.) He continued, “Most of my Oathkeeper pals went to the other side of the capitol because

it was so darn crowded where I was. They were giving me live go-pro feeds from their side.” (Id.)

       8.      Defendant Caldwell did not back down from the goals of the conspiracy after

January 6. To the contrary, Defendant Caldwell celebrated his actions after January 6:




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He also called for further action. On January 10, 2021, Person Three forwarded Defendant

Caldwell a message from Person One suggesting his followers purchase medicine, medical

supplies, and hygiene materials “to keep yourself clean under field grid down conditions,” and

Defendant Caldwell responded, “Is there a code word I should be looking for here? Don’t see

reference to insurrection[.]”

       9.      For all these reasons, the government submits that Defendant Caldwell’s current

conditions of release are appropriate and necessary to ensure the safety of the community.

       WHEREFORE, the United States respectfully submits that Defendant Caldwell’s request

to modify conditions of release should be denied.

                                      Respectfully submitted,

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                                      United States Department of Justice
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Dated:          May 28, 2021




                                CERTIFICATE OF SERVICE

         I hereby certify that on May 28, 2021, I sent a copy of the foregoing via the Court’s

electronic filing system to counsel for the defendant.



                                      KATHRYN L. RAKOCZY
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